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Attorneys for General Motors LLC

UNITED STATE DISTRICT COURT
FOR THE DISTRICT OF IDAHO

PETER LINDSTROM D.D.S., a married
individual,

Plaintiff,
vs.

GENERAL MOTORS LLC, a Delaware
Corporation; ENTERPRISE RENT-A-
CAR COMPANY OF UT, LLC, a
Delaware Limited Liability Company; and’
ENTERPRISE HOLDINGS, INC., a
Missouri corporation,

Defendants.

 

 

Case No.

NOTICE OF REMOVAL

TO: The United States District Court for the District of Idaho.

Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant General Motors LLC,

files this Notice of Removal of this action from the District Court of the Fourth Judicial

District of the State of Idaho in and for the County of Ada to the United States District

Court for the District of Idaho, Southern Division (Boise). In support thereof, Defendant

General Motors LLC respectfully shows:

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1. An Amended Summons and Complaint was served upon counsel for
General Motors LLC on or about October 12, 2017. Therefore, this Notice of Removal is
filed within 30 days of the date the Amended Summons and Amended Complaint were
served on Defendant General Motors LLC. In compliance with 28 U.S.C. § 1446(a), a
true and correct copy of the process and pleadings received by Defendant General
Motors LLC is attached hereto as Exhibit 1.

2. . The State Court Action was returnable in the State Court on October
26, 2017. Defendant General Motors LLC has neither served nor filed an Answer in the
State Court Action. Other than the Summons and Complaint and Amended Summons
and Complaint, no other pleadings have been filed in the State Court Action.

3. This Court has original subject matter jurisdiction over this action
pursuant to 28 U.S.C. § 1332 in that, upon information and belief, the amount in
controversy as alleged in the Summons and Complaint exceeds $75,000, as the
Amended Complaint asserts damages stemming from personal injuries to Plaintiff who
allegedly is a dentist and claims that Plaintiff “was forced to sell his dental practice”
because of symptoms associated with his injuries and also seeks recovery of “punitive
damages” and “attorney fees and costs” under five separate Counts.

4. Plaintiff is a citizen of the State of California.

5. Defendant General Motors LLC is a limited liability company
organized under the laws of the State of Delaware with its principal place of business in
the State of Michigan. The sole member of General Motors LLC is General Motors
Holdings LLC, a Delaware limited liability company with its principal place of business in

the State of Michigan. The sole member of General Motors Holdings LLC is General

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Motors Company, a Delaware corporation with its principal place of business in the State
of Michigan.

6. Defendant Enterprise Rent-A-Car Company of UT, LLC is a
Delaware limited liability company with its corporate headquarters located in the State of
Missouri.

7. Defendant Enterprise Holdings, Inc., is a Missouri corporation with
its corporate headquarters located in the State of Missouri.

8. Defendant Enterprise Rent-A-Car Company of UT, LLC and
Defendant Enterprise Holdings, Inc., consent to the removal of this action as evidenced
by their respective Consents to Removal filed as Exhibits 2 and 3 to this Notice of
Removal.

9. Under 28 U.S.C. § 1441(a), venue lies in the United States District
Court for the District of Idaho Southern Division (Boise) because it embraces the place
where the State Court Action is pending.

10. Defendant General Motors LLC is filing a copy of this Notice of
Removal with the Clerk of the State Court and serving a copy on Plaintiff as required by
28 U.S.C. § 1446(d). The Notice of Filing Notice of Removal is Exhibit 4 to this Notice
of Removal.

WHEREFORE, Defendant General Motors LLC removes the instant action

to this Court for all future proceedings.

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DATED this _20" day of October, 2017.

PERKINS, MITCHELL, POPE & MCALLISTER LLP
By:__/s/ Hans A. Mitchell
Hans A. Mitchell, of the Firm

Attorneys for Defendants General Motors
LLC

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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this _20'° day of October, 2017 | served a
true and correct copy of the foregoing NOTICE OF REMOVAL by delivering the same to
each of the following, by the method indicated below, addressed as follows:

U.S. Mail, postage prepaid
Hand-Delivered

Overnight Mail

Facsimile (208) 947-2424
ECF/E-Filing

Eric S. Rossman

Erica S. Phillips

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Attorneys for Plaintiff

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Noes

/s/ Hans A. Mitchell
Hans A. Mitchell

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